                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                          CEDAR RAPIDS DIVISION



 UNITED STATES OF AMERICA,
               Plaintiff,                                  No. CR 11-0164
 vs.                                    ORDER REGARDING
                                   MAGISTRATE’S REPORT AND
 CURTIS JOEL GRANDON,                   RECOMMENDATION
                                    CONCERNING DEFENDANT’S
          Defendant.                       GUILTY PLEAS
                      ____________________


                      I. INTRODUCTION AND BACKGROUND
       On December 8, 2011, a two-count Indictment was returned against the defendant
Curtis Joel Grandon. On June 1, 2012, the defendant appeared before United States
Magistrate Judge Jon S. Scoles and entered pleas of guilty to Counts 1 and 2 of the
Indictment. On June 1, 2012, Judge Scoles filed a Report and Recommendation in which
he recommended that defendant’s guilty pleas be accepted. No objections to Judge Scoles'
Report and Recommendation were filed. The court, therefore, undertakes the necessary
review of Judge Scoles' recommendation to accept defendant’s pleas in this case.


                                     II. ANALYSIS
       Pursuant to statute, this court’s standard of review for a magistrate judge’s Report
and Recommendation is as follows:
              A judge of the court shall make a de novo determination of
              those portions of the report or specified proposed findings or
              recommendations to which objection is made. A judge of the
              court may accept, reject, or modify, in whole or in part, the
              findings or recommendations made by the magistrate [judge].


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28 U.S.C. § 636(b)(1). Similarly, Federal Rule of Civil Procedure 72(b) provides for
review of a magistrate judge’s Report and Recommendation on dispositive motions and
prisoner petitions, where objections are made, as follows:
              The district judge to whom the case is assigned shall make a de
              novo determination upon the record, or after additional
              evidence, of any portion of the magistrate judge’s disposition
              to which specific written objection has been made in
              accordance with this rule. The district judge may accept,
              reject, or modify the recommended decision, receive further
              evidence, or recommit the matter to the magistrate judge with
              instructions.
FED. R. CIV. P. 72(b).
       In this case, no objections have been filed, and it appears to the court upon review
of Judge Scoles' findings and conclusions, that there is no ground to reject or modify them.
Therefore, the court accepts Judge Scoles' Report and Recommendation of June 1, 2012,
and accepts defendant’s pleas of guilty in this case to Counts 1 and 2 of the Indictment.
       IT IS SO ORDERED.
       DATED this 18th day of June, 2012.




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